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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

 ARCH INSURANCE COMPANY,                            )
                                                    )
               Plaintiff,                           )
                                                    )
                                                    )
                                                    )
 v.                                                 )   Civil Action No. 2:23-cv-02689- JTF-cgc
                                                    )
 U.S. ALL STAR FEDERATION, INC., ET                 )
 AL.,                                               )
                                                    )
              Defendant.                            )


            ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION
       FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S COMPLAINT


       Before the Court is Defendant’s Unopposed Motion for Extension of Time to Respond to

Plaintiff’s Complaint, filed on November 22, 2023. (ECF No. 23.) Defendant Varsity Brands

Holding Co., Inc. (“Varsity”) moves the Court pursuant to Federal Rule of Civil Procedure 6(b) to

extend the time to answer or otherwise respond to Plaintiff Arch Insurance Company’s (“Plaintiff”)

Complaint to January 20, 2024. Varsity’s Unopposed Motion for Extension of Time to Respond

to Plaintiff’s Complaint is GRANTED. Varsity shall file its answer or otherwise respond to the

Plaintiff’s Complaint no later than January 20, 2024.


      IT IS SO ORDERED, this 27th day of November 2023.


                                                    s/John T. Fowlkes, Jr._
                                                    JOHN T. FOWLKES, JR.
                                                    UNITED STATES DISTRICT JUDGE
